                    Case 2:21-mj-00622-MLP
AO 106 (Rev 04/10) Application                                  Document
                               for a Search Warrant (Modified: WAWD 10-26-18)   1 Filed 11/19/21 Page 1 of 32


                                     UNITED STATES DISTRICT COURT
                                                                    for the
                                                       Western District of Washington

             In the Matter of the Search of
                                                                         )
         (Briefly describe the property to be searched
          or identify the person by name and address)                               Case No.      MJ21-622
    A white 2014 Chevy Impala with no front or rear
                    license plate
                                                                         )

                                           APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

    A white 2014 Chevy Impala with no front or rear license plate, more particularly descrived in Attachment A hereto.
located in the             Western                District of       Washington
                                                                ------��----                       , there is now concealed (identify the
person or describe the property to be sei=ed):

 See Attachment B, incorporated herein by reference.

          The basis for the search under Fed. R. Crim. P. 4 l(c) is (check one or more):
               � evidence of a crime;
               � contraband, fruits of crime, or other items illegally possessed;
                 iJ! property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                           Offense Description
            21 U.S.C. § 841,846                    Possession of Controlled Substances with Intent to Distribute; Conspiracy
           18 U.S.C. § 922(g)                      Felon in Possession of a Firearm

          The application is based on these facts:
          ✓     See Affidavit of, continued on the attached sheet.

          D Delayed notice of            days (give exact ending date if more than 30 days:                                         ested
                 under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

   Pursuant to Fed. R. Crim. P. 4.1,this warrant is presented:       [Z] by reliable elec


                                                                                            Special Agent Shawna McCaan, FBI
                                                                                                  Printed name and title

  0 The foregoing affidavit was sworn to before me and signed in my presence, or
  0 The above-named agent provided a sworn statement attesting to the truth of the foregoing affidavit by telephone.
Date:            11/19/2021
                                                                                                    Judge 's signature

City and state: Seattle, Washington                                               Michelle L. Peterson, United States Magistrate Judge
                                                                                                  Printed name and title


  USAO: 2021R01012
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 I Jimmy Miller Jr. was at this apartment complex. Agents have observed GPS location data
 2 for TT at this apartment complex in the past on several occasions.
 3         46.    On November 19, 2021, from approximately 7:45 a.m. to 8:30 a.m., agents
 4 observed Jimmy Miller Jr. come and go from the apartment complex at E Olive Street
 5 and 17th Avenue in Seattle, Washington multiple times, talking on a cell phone in the
 6 apartment courtyard and unlocking, accessing, and placing a yellow bag into Subject
 7 Vehicle 2.
 8         47.    At approximately 8:38 a.m., agents observed Jimmy Miller Jr. exit from
 9 this apartment complex, get into the driver's seat of Subject Vehicle 2 and start the car
10 with a key. Jimmy Miller Jr. was the only occupant in the vehicle.
11         48.    At this point, agents executed the search warrant on Jimmy Miller Jr.'s
12 person by approaching the vehicle in a marked police vehicle and escorting Jimmy Miller
13 Jr. out of the vehicle without incident. As they approached Jimmy Miller Jr., agents saw he was on
14 an active video call of some type.
15         49.    In plain view in Subject Vehicle 2, agents observed two cell phones -
16 including the phone that Jimmy Miller Jr. was actively using - the center console
17 cupholders. One of the investigators terminated the active call.
18         50.    I know, based on my training and experience, that it is possible in some
19 instances for someone to remotely wipe, or delete, data from cellular telephones with an
20 active signal to the network. According, to prevent either cell phone seen in the Subject
21 Vehicle from being remotely tampered with pending the issuance of this warrant,
22 investigators put both phones into a signal-blocking evidence bag and then left them
23 inside Subject Vehicle 2.
24         51.     Based on my training and experience, I know that it is common for drug
25 traffickers to carry multiple cell phones and to change cell phone numbers and/or devices
26 frequently. Drug traffickers use multiple phones in an attempt to compartmentalize their
27 illicit business and minimize the chances of law enforcement discovering the full scope
     of their activities. For example, traffickers may use one phone with some of their
     AFFIDAVIT OF SHAWNA MCCANN - 15                                     UNITED STATES ATTORNEY
                                                                        700 STEWART STREET, SUITE 5220
     USAO # 202 IR01012
                                                                          SEATTLE, WASHINGTON 98101
                                                                                (206) 553-7970
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                                             Attachment “C”
                                  Seattle Police Narcotics ProAct Unit
                                Detective Pete Lazarou & Canine Cisco




Experience
I, Detective Pete Lazarou #6893, am a fully commissioned Police Officer employed by the Seattle Police
Department and currently assigned to the Seattle Police Department’s Narcotics ProAct Unit. My
assignment is in an undercover role where I am dressed in civilian clothes and drive an unmarked detective
vehicle which is not identifiable as law enforcement.
I have been a Police Officer since July 2001. I attended the Washington State Law Enforcement Training
Academy, which consisted of 720 hours of basic law enforcement training. Of the 720 hours of instruction,
approximately 16 hours was dedicated to narcotics investigation. This training included viewing and
smelling several different narcotics.

My duties involve conducting both short-term and long-term narcotic operations which include writing and
serving search warrants. I also am tasked with working with confidential informants (CIs), conducting
undercover operations, and conducting surveillance on narcotic traffickers. In my training, I have learned
how to recognize indicators involved with narcotics related activities. During my career, I have been
involved in hundreds of narcotics investigations and arrests as either the primary or assisting
officer/detective. Because of this experience and training, I am familiar with common methods of
investigating drug trafficking and manufacturing organizations and have become familiar with the methods
of operation of drug traffickers and manufacturers, including, but not limited to: their methods of importing,
exporting, storing, concealing, and packaging drugs; their methods of transferring and distributing drugs;
their use of cellular telephones; and their use of code words, counter surveillance, and other methods of
avoiding detection of law enforcement. I am also familiar with the various methods of packaging,
delivering, transferring, and laundering drug proceeds. Additionally, through training and experience, I can
identify illegal drugs by sight and texture. I am trained to use a field test kit to identify the presumptive
presence of controlled substances.
In May 2004 I successfully completed a 240-hour narcotics detection canine training course with my
previous narcotics canine from the Washington State Department of Corrections on McNeil Island.
Canine “Cisco”
K9 Cisco is an adult yellow Labrador and has been assigned to the Narcotics ProAct Unit since October 6,
2021. K9 Cisco is trained in the detection of illegal narcotics and is trained to search for, and alert to, the
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presence of the odors of cocaine, crack cocaine, heroin, methamphetamine, and their respective derivatives.
K9 Cisco is not trained to detect the odor of marijuana.

In October 2021, I successfully completed a 100-hour narcotics detection canine training with K9 Cisco
under the direction of Marysville Police Department K9 Officer Brad Smith. K9 Ofc. Smith assisted me
with training K9 Cisco and imprinting him with the aforementioned odors. K9 Ofc. Smith is currently an
evaluator for narcotic detection canine teams through the Washington State Criminal Justice Training
Commission and the Pacific Northwest Police Drug Detection Dog Association. He is certified as a
Master Handler Team in both Narcotic Detection and Generalist (Patrol) Canine through the Washington
State Police Canine Association and is certified as a Trainer of Narcotic Detection and Generalist (Patrol)
Canine Teams through the Washington State Police Canine Association.
On October 6th, 2021, K9 Cisco and I were certified as a narcotics detection canine team through the
Washington State Criminal Justice Training Commission (CJTC), meeting the standards set forth by
Washington Administrative Code (WAC) 139-05-915 and CJTC policy. In addition, on [date], K9 Cisco
and I were certified by the Washington State Police Canine Association. Certification standards require
that all trained odors are tested in each of the following areas: outside areas, building searches, vehicle
searches, and package searches.
When deployed, K9 Cisco is worked in a specific area and/or “search pattern” and I am trained to watch
for his “changes of behaviors.” K9 Cisco’s “changes of behaviors” range from a distinct breathing change
to intense sniffing with his mouth closed, sometimes accompanied by a distinct body turn or head snap
towards the odor as well as a noticeable change in tail movement. Upon detecting one of the
aforementioned odors, K9 Cisco will give this “change of behavior.” K9 Cisco will then work to the
“source” of the odor and give his “alert” to that location. K9 Cisco is trained to give a “passive alert” in
which K9 Cisco presses his nose in the area where the odor is emanating while maintaining a rigid body
position. K9 Cisco has consistently demonstrated the capability to detect the odors emanating from the
aforementioned controlled substances.
K9 Cisco and I train together on a consistent and ongoing basis with other handlers and certified trainers.
The training consists of varied search scenarios, set times, and quantities/types of narcotics, as well as
distractions. K9 Cisco has proven to be reliable and consistent in all phases of this training.
K9 Certifications
    •   WAC Narcotics 2021-current
    •   WSPCA certification 2021- current
I certify under penalty of perjury under the laws of the state of Washington that the foregoing is true and
correct (RCW 9A.72.085) and I am entering my authorized user ID and password to authenticate it.
Detective Pete Lazarou
Seattle Police Narcotics ProAct Unit
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                                          Attachment “C”
                               Seattle Police Narcotics ProAct Unit
                                       Canine Narcotics Team
                                Detective P. Lazarou and K9 Cisco


Seattle Police Case Number: Seattle Police Case Number
Outside Agency Case Number: FBI 281D-SE-93445
Date: 11-19-2021
Type of Application: Vehicle
Location: 1700blk E Olive St, Seattle WA


Assignment:
I, Detective P. Lazarou #6893, am a fully commission Police Officer employed by the Seattle
Police Department. My current assignment is a detective/canine handler with the Seattle Police
Narcotics ProAct Unit.
Incident:


On 11-19-2021, I was requested to assist FBI and SPD TFO’s at the 1700blk of East Olive St in Seattle WA.
Once at the location FBI Agent McCann requested to have my K9 partner sniff the exterior of a 2014
Chevy Impala which was bearing a temp tag in the rear window as A4566680. I retrieved K9 Cisco from
my undercover vehicle and presented the exterior of the listed vehicle. I started at the front driver’s
side fender and began working around the vehicle. As I reached the driver’s door with K9 Cisco I
recognized his change of behavior. K9 Cisco alerted the driver’s door seam between the driver’s window
and rear window. I rewarded K9 Cisco and advised FBI Agent McCann that K9 Cisco positively alerted to
the exterior of the listed vehicle.
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I certify under penalty of perjury under the laws of the state of Washington that the foregoing
is true and correct (RCW 9A.72.085) and I am entering my authorized user ID and password to
authenticate it.
Detective P. Lazarou #6893 _________________________________________
